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                                               EXHIBIT A
DECLARATION OF ALDEN J. PARKER IN SUPPORT OF MOTION OF DEFENDANTS WARRIOR
   TRADING, INC. AND ROSS CAMERON FOR JUDGMENT ON THE PLEADINGS; OR, IN THE
                              ALTERNATIVE, MOTION TO STAY THE PRESENT CASE
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